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                                  SCHEDULE “CC”
                                LEGAL DESCRIPTION

                                 Cameron County, Texas


Tract: RGV-HRL-6027            Owner: Juan G. Rodriguez                      Acreage: 0.25


BEING a 0.25 of one acre tract of land, out of Tracts “P” and “Q”, in the San Pedro de
Carricitos Grant, Cameron County, Texas, out of a called 5.707 acre tract conveyed to
Juan G. Rodriguez by Warranty Deed filed for record on August 13, 1996 and recorded
in Volume 3983, Page 56, Official Records of Cameron County, Texas; more particularly
described by metes and bounds as follows:

       BEGINNING at a 1/2” rebar with “CEC” cap set (NAD 83 (CORS) grid
       coordinate – Northing: 16530269.25, Easting: 1269551.03 on the east boundary
       line of said 5.707 acre tract and the west boundary line of a 33.28 acre reserve
       area in the George Zepeda Subdivision, recorded in Cabinet 1, Page 1334-B, Map
       Records of Cameron County, Texas; for the northeast corner of the herein
       described tract, from which a 1/2” rebar found near the south right-of-way line of
       U.S. Highway 281 at the northeast corner of a 11.414 acre tract conveyed to Juan
       G. Rodriguez as recorded in Volume 3983, Page 60, Official Records of Cameron
       County, Texas, bears North 12° 01' 45" East, (North 02° 06’54” East, Record) a
       distance of 5139.58 feet, and from which the Tahuachal Banco No. 9 permanent
       monument bears North 69° 36’00” East a distance of 3251.10 feet;

(1)    THENCE, South 12° 02' 08" West, (South 02° 06’54” West, Record) along the
       east boundary line of said 5.707 acre tract, the west boundary line of said 33.28
       acre reserve area, a distance of 63.77 feet to a point, the southeast corner of the
       herein described tract;

(2)    THENCE, North 58° 10' 15" West, departing the west boundary line of said
       33.28 acre reserve area, the east boundary line of said 5.707 acre tract and
       crossing said 5.707 acre tract a distance of 179.93 feet to a point on the west
       boundary line of said 5.707 acre tract and the east boundary line of a remaining
       portion of a 102.814 acre tract conveyed to Alberto Zepeda, Jr., Carlos Zepeda
       and George Zepeda, recorded in Volume 1205, Page 310, Official Records of
       Cameron County, Texas, the southwest corner of the herein described tract;

(3)    THENCE, North 12° 19' 25" East, (North 02° 24’11” East, Record) along the
       east boundary line of said remaining portion of a 102.814 acre tract, the west
       boundary line of said 5.707 acre tract, a distance of 63.65 feet to a 1/2” rebar with
       “CEC” cap set for the northwest corner of the herein described tract;
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(4)   THENCE, South 58° 10' 15" East, departing the east boundary line of said
      remaining portion of a 102.814 acre tract, the west boundary line of said 5.707
      acre tract and crossing said 5.707 acre tract, a distance of 179.59 feet, to the
      POINT OF BEGINNING, and containing 0.25 of one acre (10,786 square feet)
      of land, more or less.




                                                              Tract: RGV-HRL-6027
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                              SCHEDULE “DD”




                           LAND TO BE CONDEMNED
Tract: RGV-HRL-6027
Owner: Juan G. Rodriguez
Acres: 0.25
Cameron County, Texas
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                                   SCHEDULE “EE”
                                   ESTATE TAKEN

Tract: RGV-HRL-6027           Owner: Juan G. Rodriguez           Acres: 0.25

        The estate taken is fee simple, subject to existing easements for public roads and
highways, public utilities, railroads and pipelines. The estate taken is made subject to a
dominant easement appurtenant for access in common with others (including the United
States) at the location depicted on the map attached as Exhibit A (“Easement
Appurtenant”). The Easement Appurtenant provides Owner with right of way from U.S.
Highway 281; along the road easement identified on Exhibit A as Tracts RGV-HRL-
6026E-1, RGV-HRL-6033E-1, RGV-HRL-6034E-1, and RGV-HRL-6038E-1,
collectively known as Pool Road; to and across lands acquired for border barrier
purposes, including the right to pass at all times through a 50-foot opening in the border
barrier or gate identified on Exhibit A as Gate O-16-1 (Pool Rd); then along the southern
boundary of lands acquired for border barrier purposes but not improved with said border
barrier at least 10 feet in width, to Owner’s land lying on the river side of said border
barrier. The Easement Appurtenant shall run with title to that real estate of the Owner
lying between the Rio Grande River and the border barrier that would benefit from a right
of way.

        The estate taken excepts and excludes all interests in minerals and in water
distribution and drainage systems, provided that any surface rights arising from the
excluded interests in water distribution and drainage systems are subordinated to the
construction, operation and maintenance of the border barrier.

        The Easement Appurtenant reserved to Owner and their successors and assigns to
travel across the IBWC levee, if any, is made subject to the operational needs of the
United States, through the International Boundary and Water Commission for
constructing, operating and maintaining suitable levees and for flood control purposes.




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                              EXHIBIT A




Tract: RGV-HRL-6027
Owner: Juan G. Rodriguez
Cameron County, Texas
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                           SCHEDULE “GG”
              NAMES AND ADDRESSES OF INTERESTED PARTIES:


Juan G. Rodriquez and Maria I. Rodriquez (aka Maria G. Rodriquez) (husband and wife)

San Benito, TX 78586

Tony Yzaguirre, Jr.
Tax Assessor-Collector
P.O. Box 952
Brownsville, Texas 78522-0952

Carlos Zepeda, Jr.

San Benito, Texas 78586
(by virtue of a Water Rights Conveyance documented at Vol. 4/767, Appropriation of
Water Rights Records, Cameron County, Texas)

Sulema R. Zarate

Brownsville, Texas 78520
(by virtue of a Deed of Trust documented at Vol. 6536/179, Official Records, Cameron
County, Texas)

Midland Funding, LLC
Corporation Service Company d/b/a CSC-Lawyers Incorporating Service Company,
registered agent
701 Brazos, Suite 1050
Austin, Texas 78701
(by virtue of a judgment documented at Vol. 15192/289, Official Records, Cameron
County, Texas)

Office of Attorney General (Texas)
1820 West Jefferson Ave.
Harlingen, Texas 78550
(by virtue of child support liens documented at Vols. 14225/68, 8680/3, 12934/116,
13544/243, Official Records, Cameron County, Texas)

First Rio Valley Medical, P.A.
William L. Rentfro, registered agent
185 E. Ruben Torres Sr. Blvd.
Brownsville, Texas 78520
(by virtue of a judgment documented at Vol. 9699/68, Official Records, Cameron
County, Texas
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Internal Revenue Service
Attn: Donna Morris, Senior Commissioner
4050 Alpha Road
Farmers Branch, Texas 75244
(by virtue of Federal Tax liens documented at Vols. 10451/152, 6521/109, 7803/311,
Official Records, Cameron County, Texas
